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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 STEPHEN GIANNAROS,

                        Plaintiff,                        Case No. 1:20-cv-10723

        v.

 GROUP ROSSIGNOL USA, INC.,

                        Defendant.


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       PLEASE TAKE NOTICE that Plaintiff Stephen Giannaros voluntarily dismisses all claims

alleged in the case, Giannaros v. Group Rossignol USA Inc., No. 1:20-cv-10723, with prejudice,

and with each party bearing his and its own costs. Defendant Group Rossignol USA, Inc. has not

filed a responsive pleading such that dismissal under Fed. R. Civ. P. 41(a)(1) is appropriate.

       Dated: August 11, 2020                 Respectfully Submitted,

                                              /s/ Jason M. Leviton
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: August 11, 2020                            /s/ Jason M. Leviton
                                                   Jason M. Leviton
